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   9                           UNITED STATES DISTRICT COURT
  10          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11 VANESSA BRYANT,                             Case No. 2:20-cv-09582-JFW-E
  12              Plaintiff,                     FIRST AMENDED COMPLAINT
            vs.                                  FOR:
  13
  14 COUNTY OF LOS ANGELES; LOS                  1. Violation of Fourteenth
     ANGELES COUNTY SHERIFF’S                       Amendment – 42 U.S.C. § 1983
  15 DEPARTMENT; LOS ANGELES
     COUNTY FIRE DEPARTMENT;                     2. Negligence
  16
                                                 3. Negligence
  17                                             4. Invasion of Privacy
  18              Defendants.                    5. Invasion of Privacy
  19
                                                 DEMAND FOR JURY TRIAL
  20
                                                 [REDACTED VERSION OF
  21                                             DOCUMENT PROPOSED TO BE
  22                                             FILED UNDER SEAL]
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                                                                 Case No. 2:20-cv-09582-JFW-E
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   1         Plaintiff Vanessa Bryant (“Plaintiff”), through her undersigned counsel,
   2 hereby brings this action against defendants County of Los Angeles (the “County”),
   3 the Los Angeles County Sheriff’s Department (the “Sheriff’s Department”), the Los
   4 Angeles County Fire Department (the “Fire Department,” and, collectively with the
   5 County and the Sheriff’s Department, the “Entity Defendants”),
   6                                                (collectively, the “Deputy Defendants,”
   7 and, collectively with the County, the Sheriff’s Department, and the Fire
   8 Department, the “Defendants”) seeking damages to remedy violations of rights
   9 under the United States Constitution and for negligence and invasion of privacy
  10 pursuant to California law. This Court has subject matter jurisdiction pursuant to 28
  11 U.S.C. sections 1331 and 1343.
  12         Plaintiff alleges, on personal knowledge as to herself and information and
  13 belief as to others, as follows:
  14                                    INTRODUCTION
  15         1.    On the morning of Sunday, January 26, 2020, three eighth-grade girls,
  16 joined by parents and coaches, left their homes in Orange County to play in a youth
  17 basketball tournament in Thousand Oaks. Making their way by helicopter, they
  18 encountered dense fog. Rather than land or turn around, the pilot pushed into the
  19 fog and became disoriented. The helicopter descended rapidly and crashed into the
  20 foothills of the Santa Monica Mountains, killing everyone onboard. Vanessa
  21 Bryant’s thirteen year-old daughter, Gianna Bryant, and husband of nearly twenty
  22 years, Kobe Bryant, were among those who died.
  23         2.    In the aftermath of the crash, several of the victims’ family members
  24 gathered at the L.A. County Sheriff’s station in Lost Hills, devastated and
  25 distraught. Sheriff Alex Villanueva met with them and assured Mrs. Bryant that his
  26 deputies were securing the crash site. Based on a leak by law enforcement, the
  27 gossip and celebrity news site TMZ had reported that Kobe, a singular figure in
  28
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   1 Southern California culture and a hero to millions around the world, had died, and
   2 onlookers were flocking to the accident scene.
   3         3.     But the biggest threat to the sanctity of the victims’ remains proved to
   4 be the Sheriff’s Department itself. Faced with a scene of unimaginable loss,
   5 Sheriff’s Department personnel abused their access to the crash site by taking and
   6 sharing gratuitous photos of the dead children, parents, and coaches. As the
   7 Sheriff’s Department would later admit, there was no investigatory reason for
   8 Department personnel to take pictures of the victims’ remains.
   9         4.     Within forty-eight hours, at least ten members of the Department
  10 obtained and possessed images of the victims’ remains on their personal cell phones
  11 without any legitimate reason for having them. The gratuitous images also became
  12 a subject of gossip within the Department, as deputies shared them in settings that
  13 had nothing to do with investigating the accident. One deputy even showed off
  14 photos of the victims at a bar, identifying one of the individuals depicted as Kobe
  15 Bryant and bragging about how he had been at the crash site. Shocked and appalled,
  16 one of the bar patrons filed a written complaint with the Sheriff’s Department.
  17         5.     Upon learning that his deputies had taken and shared the gratuitous
  18 photos, which plainly violated the victims’ families’ constitutional rights to control
  19 images of their loved ones’ remains, Sheriff Villanueva did not inform the victims’
  20 families, initiate an internal affairs investigation, or inspect the deputies’ phones to
  21 determine whether and how the photos had been shared. He instead directed a
  22 cover-up, summoning the deputies to the Lost Hills station and telling them that, if
  23 they deleted the photos, they would face no discipline. The deputies purported to
  24 accept the Sheriff’s offer, receiving a free pass in exchange for destroying evidence
  25 of their misconduct.
  26         6.     For one month, the Department’s cover-up worked. But on February
  27 27 and 28, 2020, the Los Angeles Times reported on the deputies’ photos and the
  28 Department’s effort to hide its wrongdoing. Following the reports, Sheriff

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   1 Villanueva admitted that his deputies took “illicit photos” of the victims’ remains
   2 and that he informally ordered their destruction to avoid the “usual routine” of a
   3 formal investigation in which everyone “lawyers up.”
   4         7.    Following the Los Angeles Times reports, other news outlets began
   5 reporting that the misconduct was not limited to the Sheriff’s Department—Fire
   6 Department personnel had taken and shared improper photos of the victims’ remains
   7 as well. Like the Sheriff’s Department, the Fire Department had been aware of the
   8 egregious conduct for several weeks and responded by directing employees to
   9 destroy evidence of their wrongdoing without ever informing the victims’ families.
  10         8.    Devastated by these reports, Mrs. Bryant privately sought information
  11 from the Sheriff’s Department and Fire Department to assess whether she should
  12 brace for pictures of her loved ones’ remains to surface on the internet. Mrs. Bryant
  13 asked the departments to explain the steps they had taken to determine the scope of
  14 the misconduct and ensure that all photos of the crash site had been secured. Both
  15 responded that they needed extra time to respond due to the “unusual circumstance”
  16 of needing to consult documents, then sent letters in which they refused to respond
  17 to all but one of Mrs. Bryant’s questions and asserted that they had no legal
  18 obligation to assist.
  19         9.    The Sheriff’s and Fire Departments’ outrageous actions have caused
  20 Mrs. Bryant severe emotional distress and compounded the trauma of losing Kobe
  21 and Gianna. Mrs. Bryant feels ill at the thought that sheriff’s deputies, firefighters,
  22 and members of the public have gawked at gratuitous images of her deceased
  23 husband and child, and she lives in fear that she or her children will one day
  24 confront horrific images of their loved ones online. Many social media users and
  25 internet trolls have claimed to have seen photos of the victims’ remains, and their
  26 accounts are plausible given the number of individuals who took and transmitted
  27 improper photos, the ease with which cell phone photos are electronically shared
  28 and saved in cloud storage, and the egregious failure to take reasonable steps to

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   1 prevent dissemination of the photos.
   2         10.   In taking these photographs and at several points thereafter, members
   3 of the Sheriff’s and Fire Departments have chosen to act reprehensibly, and the
   4 departments’ responses to their employees’ conduct has demonstrated that they
   5 either do not understand or do not care about the pain they have caused. This
   6 lawsuit seeks to impose accountability for that.
   7                            JURISDICTION AND VENUE
   8         11.   The County removed this action, which was commenced in the
   9 Superior Court of the State of California for the County of Los Angeles, pursuant to
  10 28 U.S.C. sections 1331, 1441, and 1446. This Court has jurisdiction over this
  11 action pursuant to 28 U.S.C. sections 1331 and 1343 because Plaintiff brings a claim
  12 for violation of the Fourteenth Amendment of the United States Constitution under
  13 42 U.S.C. section 1983, and this Court has supplemental jurisdiction over Plaintiff’s
  14 state law claims under 28 U.S.C. section 1367(a).
  15         12.   Venue is proper in this District pursuant to 28 U.S.C. section 1391(b),
  16 because Defendants in this action are individuals and public agencies situated in Los
  17 Angeles County and because, on information and belief, all of the acts or omissions
  18 giving rise to this Complaint occurred in the Central District of California.
  19                                     THE PARTIES
  20         13.   Plaintiff Vanessa Bryant, a California resident, is the wife of Kobe
  21 Bryant and mother of Gianna Bryant.
  22         14.   Defendant County of Los Angeles is a municipal corporation duly
  23 authorized to operate under the laws of the State of California. The Los Angeles
  24 County Sheriff’s Department is a department of the County.
  25         15.   Defendant Los Angeles County Sheriff’s Department is a local
  26 government entity created under the laws of the State of California and a department
  27 of Defendant County. The Sheriff’s Department provides general law enforcement
  28

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   1 services to certain contract cities, including Calabasas, California. The
   2 Department’s work is directed by, among others, Sheriff Alex Villanueva.
   3        16.    Defendant Los Angeles County Fire Department is a local government
   4 entity created under the laws of the State of California and a department of
   5 Defendant County. The Fire Department provides fire suppression and prevention
   6 services under contract with the city of Calabasas, California.
   7        17.    Defendants County, Sheriff’s Department, and Fire Department are
   8 “persons” subject to suit within the meaning of 42 U.S.C. § 1983. See Monell v.
   9 New York Department of Social Services, 436 U.S. 658, 691 (1978).
  10        18.    Pursuant to California Government Code § 815.2(a), Defendants
  11 County, Sheriff’s Department, and Fire Department are liable for any and all
  12 wrongful acts in violation of state law hereinafter complained of and committed by
  13 their employees acting within the course and scope of their employment.
  14        19.    Defendant             is an individual and currently a sheriff’s deputy
  15 in the Los Angeles County Sheriff’s Department.              is sued in his individual
  16 capacity. On information and belief, Defendant             is a resident of California.
  17        20.    Defendant                is an individual and currently a Sheriff’s
  18 deputy in the Los Angeles County Sheriff’s Department.                is sued in his
  19 individual capacity. On information and belief,            is a resident of California.
  20        21.    Defendant                   is an individual and currently a Sheriff’s
  21 deputy in the Los Angeles County Sheriff’s Department.                 is sued in his
  22 individual capacity. On information and belief,              is a resident of California.
  23        22.    Defendant                 is an individual and currently a Sheriff’s
  24 deputy in the Los Angeles County Sheriff’s Department.                   is sued in his
  25 individual capacity. On information and belief,               is a resident of California.
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   1                            GENERAL ALLEGATIONS
   2                 Sheriff’s and Fire Department Personnel Took and
                    Shared Unnecessary Photos of the Victims’ Remains
   3
   4        23.    On the morning of January 26, 2020, a helicopter carrying Kobe Bryant
   5 and his thirteen-year-old daughter, Gianna, crashed into the foothills of the Santa
   6 Monica Mountains near Calabasas, California. The pilot and all passengers died on
   7 impact.
   8      24.      The hours after the crash were filled with confusion. Mrs. Bryant
   9 learned of the crash from an employee of Kobe, Inc., but was told there were
  10 survivors. She then began receiving Instagram messages expressing sympathy for
  11 her loss. Based on a leak by law enforcement, TMZ had reported that Kobe had died
  12 in a helicopter accident. Having heard nothing from law enforcement herself, Mrs.
  13 Bryant was confused and distraught. Ultimately, other news outlets confirmed that
  14 Kobe and Gianna had perished in the accident.
  15        25.    Paparazzi, members of the public, and a significant number of
  16 unauthorized drones flocked to the crash site. The Sheriff’s Department closed
  17 multiple roads and freeway off-ramps leading to the site to discourage onlookers,
  18 and the Federal Aviation Administration imposed a five-mile no-fly zone overhead
  19 at Mrs. Bryant’s request. An emergency ordinance prohibited unauthorized access
  20 to the site, and Sheriff Villanueva announced that trespassers would be arrested and
  21 charged with a misdemeanor.
  22        26.    Meanwhile, Mrs. Bryant and other family members of the victims
  23 gathered at the nearby Sheriff’s station in Lost Hills. Mrs. Bryant spoke with
  24 Sheriff Alex Villanueva and expressed concern that the crash site was unprotected
  25 from photographers. Sheriff Villanueva assured her that his deputies were securing
  26 the scene.
  27        27.    This assurance was hollow. Notwithstanding Sheriff Villanueva’s later
  28 acknowledgement that Sheriff’s Department personnel “had no place to be taking

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   1 photographs of anything,” deputies who responded to the crash scene used personal
   2 cell phones to take and share gratuitous photos of the dead children, parents, and
   3 coaches. According to the Sheriff’s Department’s subsequent investigatory report,
   4 one deputy in particular took between 25 and 100 photos of the crash scene on his
   5 personal cell phone, many of which had no conceivable investigatory purpose and
   6 were focused directly on the victims’ remains.
   7        28.    Photos of the remains quickly spread within the Sheriff’s Department
   8 as deputies transmitted them to one another via text message and AirDrop. Within
   9 forty-eight hours, at least ten members of the Sheriff’s Department obtained and
  10 possessed photos of the victims’ remains on their personal cell phones despite
  11 having no legitimate governmental use for the photos. Making matters worse,
  12 Sheriff’s Department personnel showed off the photos of the victims’ remains to
  13 colleagues in settings that had nothing to do with investigating the crash—an
  14 investigation that was being handled by the National Transportation Safety Board
  15 (“NTSB”), not the Sheriff’s Department—and the photos became the subject of
  16 gossip within the Department.
  17        29.    Members of the Fire Department engaged in similar misconduct.
  18 While working the crash site on January 26, 2020, several members of the Fire
  19 Department abused their access to take graphic photos of the victims’ remains
  20 without any legitimate governmental purpose. One such instance occurred at
  21 approximately 2:00 p.m. on January 26, 2020—long after the downed helicopter had
  22 been identified—when a sheriff’s deputy observed a firefighter taking multiple
  23 pictures of the accident scene.
  24
  25                                                                            In
  26 addition, according to a complaint filed in Los Angeles County Superior Court in
  27 November 2020 by Tony Imbrenda, a public information officer in the Fire
  28 Department who responded to the crash scene on the day of the accident but was not

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   1 involved in investigating the accident, multiple firefighters electronically
   2 transmitted photos of the crash scene to him. Based on the foregoing, Plaintiff
   3 believes and thereon alleges that, in the hours and days that followed the crash,
   4 several members of the Fire Department electronically shared and/or displayed the
   5 graphic images of her loved ones’ remains to colleagues without any legitimate
   6 governmental purpose.
   7                                    Deputy
   8         30.                  , a deputy with the Sheriff’s Department, responded to the
   9 general proximity of the accident scene on January 26, 2020 and stationed himself at
  10 the Department’s makeshift command post at the Los Virgenes Water District.
  11 While there,           obtained multiple photographs of the Bryants’ remains and
  12 stored them on his personal cell phone.
  13         31.    Shortly after obtaining photos of the Bryants’ remains,         shared
  14 them with at least two individuals without any legitimate governmental purpose.
  15                a.      At some point on January 26, 2020—after           and others had
  16 learned that the victims of the helicopter accident included Kobe and Gianna
  17 Bryant—             walked 100 feet from his position at the makeshift command post to
  18 chat with a female deputy who was controlling traffic in and out of the Las Virgenes
  19 Water District.           told the deputy that he had photos of the accident scene and,
  20 for no reason other than morbid gossip, proceeded to send the photos of the Bryants’
  21 remains to her personal cell phone. The deputy had no role in investigating the
  22 accident or identifying those who perished, and later acknowledged in an interview
  23 with Department investigators that she had no legitimate governmental purpose for
  24 the photos. Similarly,           admitted to investigators that the deputy did not need
  25 the photos for any reason and that it was inappropriate to send them to her. In
  26 explaining his actions to investigators,          could only say that “curiosity got the
  27 best of [them]” and that such curiosity was “in [their] nature” as deputies.
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    1               b.        At a separate point on January 26, 2020—and again, with
    2 knowledge that Kobe and Gianna Bryant were among those who perished in the
    3 crash—           electronically transmitted photos of the Bryants’ remains to another
    4 deputy,             .         had responded to the general proximity of the accident
    5 scene along with             but he had no role in investigating the accident or
    6 identifying those who perished.             sent photos of the Bryants’ remains to
    7 personal cell phone without any legitimate governmental purpose.
    8         32.   Following the above actions,            learned that a complaint had been
    9 filed with the Sheriff’s Department regarding improper sharing of photos of the
   10 crash victims’ remains.            then negligently and/or willfully destroyed evidence
   11 of his wrongdoing by deleting photos of the victims’ remains and other evidence
   12 from his personal cell phone. At the time,             had an obligation to preserve this
   13 evidence of his wrongdoing, including any associated metadata, and, as a trained
   14 law enforcement officer, knew or should have known that the evidence may be
   15 relevant to future litigation or investigations. By committing this spoliation,
   16 severely undermined the ability to verify any of his claims regarding his handling
   17 and dissemination of the photos.
   18                                      Deputy
   19         33.                 a trainee deputy with the Sheriff’s Department, responded to
   20 the general proximity of the accident scene on January 26, 2020. While there,
   21 was posted at the base of the hillside, where he monitored entry to a trailhead that
   22 led to the downed helicopter. At no point on the day of the accident or at any time
   23 thereafter did          have a role in investigating the accident or identifying those who
   24 perished. Nonetheless, at some point during his shift,           obtained multiple
   25 photographs of the Bryants’ remains on his personal cell phone.
   26         34.   After obtaining photos of the Bryants’ remains,           shared them with
   27 multiple individuals without any legitimate governmental purpose, including several
   28 members of the public.

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    1               a.      While at the Lost Hills Sheriff’s station on the evening of
    2 January 26, 2020—long after            and others had learned that the victims of the
    3 helicopter accident included Kobe and Gianna Bryant—                 told another deputy,
    4                    , that he had photos of the accident scene.             asked to see the
    5 photos, and         texted photos of the Bryants’ remains to                personal cell
    6 phone. There was no legitimate governmental purpose for                 to transmit the
    7 photos to           because, like                    had no role in investigating the
    8 accident or identifying those who perished.
    9               b.      On January 28, 2020, while at his mother’s house in West
   10 Covina, California,         showed photos of the Bryants’ remains to his niece.
   11 Before displaying the photos,          made a crude remark about the state of the
   12 victims’ remains.
   13               c.      While at the Baja California Bar and Grill in Norwalk, California
   14 on January 28, 2020,          boasted that he had worked at the scene of the accident
   15 where Kobe Bryant had died.             then showed photos of the Bryants’ remains to a
   16 fellow bar patron and the restaurant’s bartender, and he is seen on the bar’s security
   17 camera zooming in and out of the images while displaying them to the bartender.
   18 One of the photos showed the body of a girl, and              remarked that another
   19 showed the remains of Kobe Bryant. Shortly after seeing the photos, the bartender
   20 loudly boasted to restaurant employees and patrons that he had just seen a photo of
   21 Kobe Bryant’s body and described the image in graphic detail.
   22        35.    Following the above actions,             learned that a complaint had been
   23 filed with the Sheriff’s Department regarding improper sharing of photos of the
   24 crash victims’ remains.          then negligently and/or willfully destroyed evidence
   25 of his wrongdoing by deleting photos of the victims’ remains from his personal cell
   26 phone and deleting the text messages he had sent                 that contained photos of
   27 the victims’ remains. At the time,           had an obligation to preserve this evidence
   28 of his wrongdoing, including any associated metadata, and, as a trained law

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    1 enforcement officer, knew or should have known that the evidence may be relevant
    2 to future litigation or investigations. By committing this spoliation,        severely
    3 undermined the ability to verify any of his claims regarding his handling and
    4 dissemination of the photos.
    5                                 Deputy
    6         36.   Deputy                    responded to the general proximity of the
    7 accident scene on January 26, 2020, and was staffed to a checkpoint at the base of a
    8 hillside that led to the downed helicopter. Throughout the day,             heard
    9 rumors that photos of the accident scene were circulating among other deputies, and
   10 he was curious to see them himself. While at the Lost Hills Sheriff’s station that
   11 evening,           asked        to send him the photos, and        sent him photos of the
   12 Bryants’ remains.            saved the photos to an album on his personal cell phone
   13 so that he did not have to keep going into the text message to view them.
   14         37.   At no point did          play any role in investigating the accident or
   15 identifying those who perished. In an interview with Department investigators,
   16          admitted that there was no investigative purpose for him to obtain the photos
   17 and that it was inappropriate for him to take possession of them.
   18         38.   Nonetheless, on or around January 28, 2020,             shared the photos
   19 with a personal friend with whom             plays video games nightly. Although the
   20 friend is a sheriff’s deputy, he was assigned to the Santa Clarita station, not the Lost
   21 Hills station, and had no involvement whatsoever in the response to the helicopter
   22 accident. In a text exchange initiated by                     told the friend that he had
   23 pictures of the accident scene.           then texted photos of the Bryants’ remains to
   24 his friend’s personal cell phone, noting that one of the victims depicted was Kobe
   25 Bryant. In a later interview with Department investigators,               friend
   26 indicated that one of the photos showed the remains of a child and that the remains
   27 appeared to be the primary focus of the photo.
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    1         39.   Following the above actions,            negligently and/or willfully
    2 destroyed evidence of his wrongdoing by deleting photos of the victims’ remains
    3 and other evidence from his personal cell phone. At the time,             had an
    4 obligation to preserve this evidence of his wrongdoing, including any associated
    5 metadata, and, as a trained law enforcement officer, knew or should have known
    6 that the evidence may be relevant to future litigation or investigations. By
    7 committing this spoliation,          severely undermined the ability to verify any of
    8 his claims regarding his handling and dissemination of the photos.
    9                                 Deputy
   10         40.                 , a deputy with the Sheriff’s Department, responded to
   11 the general proximity of the accident scene on January 26, 2020 and stationed
   12 himself at the makeshift command post established at the Los Virgenes Water
   13 District. While there,           obtained multiple photographs of the Bryants’
   14 remains, stored them on his personal cell phone, and shared them with several other
   15 Department personnel, including
   16         41.   On the evening of January 26, 2020—long after               learned that
   17 the victims of the helicopter accident included Kobe and Gianna Bryant—
   18 sent photos of the Bryants’ remains to a detective for the Department without any
   19 legitimate governmental purpose. The detective had responded to the general
   20 proximity of the accident scene earlier in the day, but had no role in investigating
   21 the accident or identifying those who perished. As the detective admitted to
   22 Department investigators, he did not use the photos for any official purpose and
   23 there was no reason for him to receive them. As an indication of how casually the
   24 photos were shared within the Department, the detective could not even identify the
   25 name of the deputy who sent him the photos during an interview with Department
   26 investigators. Following his shift on January 26, 2020, the detective asked his wife,
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   28

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    1 who is not a law enforcement officer and had no reason to view the photos, whether
    2 she wanted to see the photos of the victims’ remains.
    3        42.    Following the above actions,            negligently and/or willfully
    4 destroyed evidence of his wrongdoing by deleting photos of the victims’ remains
    5 and other evidence from his personal cell phone. At the time,             had an
    6 obligation to preserve this evidence of his wrongdoing, including any associated
    7 metadata, and, as a trained law enforcement officer, knew or should have known
    8 that the evidence may be relevant to future litigation or investigations. By
    9 committing this spoliation,           severely undermined the ability to verify any of
   10 his claims regarding his handling and dissemination of the photos.
   11              The Defendants Attempt a Cover-Up and Destroy Evidence
   12        43.    Minutes after      left the Baja California Bar and Grill on the evening
   13 of January 28, 2020, the bartender approached a table of four patrons and excitedly
   14 stated that a sheriff’s deputy had just shown him graphic photos of Kobe Bryant’s
   15 remains. The bartender described specific characteristics of Mr. Bryant’s remains,
   16 explained how the remains could be linked to Mr. Bryant, and indicated he found
   17 the situation humorous. The bartender was poised to divulge additional details, but
   18 the patrons expressed that they did not want to hear anything further.
   19        44.
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    3         45.   Under normal protocol, this complaint would have triggered a formal
    4 inquiry and/or an internal affairs investigation. But Sheriff Villanueva did not
    5 follow protocol. He did not conduct a standard investigation or collect, inspect, or
    6 search cell phones to determine how many photos existed, whether and how they
    7 had been transmitted, or whether they were stored on the cloud. He did not inform
    8 the L.A. County Office of the Inspector General. Most importantly, he did not alert
    9 the victims’ families of the misconduct or the existence of the photos.
   10         46.   Instead, sometime in late January 2020, Sheriff Villanueva summoned
   11 his deputies to the Lost Hills station and told them that if they “came clean” and
   12 deleted the photos, they would not face any discipline. The deputies responded by
   13 claiming that they had deleted the photos and, to the extent they had transmitted the
   14 photos to others, those persons had also deleted them. Sheriff Villanueva abided by
   15 his offer and did not discipline the deputies for violating the constitutional right of
   16 the victims’ families. For nearly a month, until their hands were forced by public
   17 reports about the photos, Sheriff Villanueva and the Department took no further
   18 action to investigate or contain the spread of the photos.
   19         47.   The above actions were taken to avoid the consequences of misconduct
   20 by Department personnel or, at a minimum, in reckless disregard of the risk that
   21 destruction of evidence would render a complete investigation impossible. At the
   22 time that Department leadership ordered deletion of the photos without conducting
   23 any meaningful investigation, the Department and the County knew or should have
   24 known that the actions of Department personnel, including             conduct at the bar
   25 in Norwalk, California, constituted tortious conduct under California law and a
   26 violation of the constitutional rights of the victims’ families under the United States
   27 Constitution. Hence, the Department and the County had an obligation to preserve
   28 evidence of the Department’s wrongdoing, including any associated metadata, and,

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    1 as trained law enforcement officers, Department leadership knew or should have
    2 known that the evidence may be relevant to future litigation and investigations.
    3                              The Misconduct Is Exposed
    4        48.    On February 27 and 28, 2020, the Los Angeles Times reported that
    5 several sheriff’s deputies had taken and shared photos of the victims’ remains and
    6 that the Sheriff’s Department had been aware of the misconduct for nearly a month.
    7 Soon thereafter, the Times also exposed the Department’s attempted cover-up,
    8 reporting that it “tried to keep a lid on the episode instead of following normal
    9 investigative protocols.” Around the same time, it was reported that Fire
   10 Department personnel were sharing graphic photos of the victims’ remains and that
   11 the Department responded by telling its members to destroy the photos.
   12       49. In an interview with the Los Angeles Times on February 26, 2020,
   13 Captain Jorge Valdez stated that he was “unaware of any complaint” regarding
   14 crash-scene photos and that “there was no order given to delete any photographs.”
   15 Both statements were false. Valdez was personally involved in responding to the
   16 citizen complaint, having spoken to the complainant himself, and Sheriff Villanueva
   17 has since made numerous admissions about deputies taking photos of the victims’
   18 remains and his orders to destroy them without any meaningful investigation.
   19        50.    Through statements made by Sheriff Alex Villanueva in his official
   20 capacity, the Sheriff’s Department and the County have admitted the facts showing
   21 their tortious conduct and violation of Mrs. Bryant’s constitutional rights.
   22               a.    In media appearances in late February and early March 2020,
   23 Sheriff Villanueva admitted that at least eight deputies took and/or shared photos of
   24 the victims’ remains and acknowledged that the conduct was “disgusting,” “wildly
   25 inappropriate,” “inexcusable,” and “unconscionable.” Sheriff Villanueva further
   26 admitted that the improper photos “harm[ed] people [who] have suffered a tragedy
   27
   28

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    1 already” by creating the possibility of “a public display of their loved ones’
    2 remains.”
    3               b.    Sheriff Villanueva has also admitted that the photos of the
    4 victims’ bodies were not taken for any law enforcement purpose. In response to
    5 questions from reporters on March 2, 2020, Sheriff Villanueva admitted: “[I]n this
    6 type of scene, which is an accident, there’s only two groups of people that should be
    7 taking photos: that is the NTSB and the coroner’s office. No one else has . . . any
    8 reason to take any photos . . . Anybody outside of [the NTSB and coroner’s office]
    9 would be unauthorized. It’d be illicit photos.” In another interview the same day,
   10 Sheriff Villanueva admitted: “[T]he deputies had no place to be taking any
   11 photographs of anything. Only, in this case, it would have been NTSB
   12 investigators, coroner’s investigators, and that’s about it. Nobody else.”
   13               c.    The Sheriff’s Department has also admitted to destroying
   14 evidence of the unlawful photos. In an interview with NBC-4 Los Angeles on
   15 March 2, 2020, Sheriff Villanueva stated that he learned within days of the crash
   16 that a trainee deputy had allegedly showed off crash-scene photos at a bar and, in
   17 response, the Department ordered the trainee and seven other deputies to delete the
   18 photos. Villanueva stated that his “number one priority” was to “make sure those
   19 photos no longer existed.” According to Villanueva, the Department “identified
   20 what we thought were the eight individuals” who took the images and “they deleted
   21 all the pictures they had, and they acknowledged that, if they transmitted them, that
   22 they were deleted.”
   23   The Sheriff’s and Fire Departments Knew or Should Have Known That First
   24   Responders Taking Photos of Human Remains Is a Long-Standing Problem
   25        51.    On and before the date of the helicopter crash, the Sheriff’s Department
   26 knew that unnecessarily taking, possessing, and sharing photos of victims’ remains
   27 had been a long-running problem for law enforcement. Addressing reporters on
   28 March 2, 2020, Sheriff Villanueva stated: “[U]nfortunately, ever since they invented

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    1 the Polaroid camera, this has been a problem in law enforcement across the nation,
    2 probably across the world, because it just makes it so much easier. And then
    3 there’s—there’s cops—they keep death books, for example, where . . . they have
    4 photos from crime scenes throughout their careers.” In an interview with the Los
    5 Angeles Times on February 26, 2020, Sheriff Villanueva exhibited similar awareness
    6 of the problem: “Every police department struggles with the same thing, where
    7 people take photos and they’re not evidence . . . So that’s a practice we have to
    8 make sure that everyone walks away, and there is no evidence other than the official
    9 photos of evidence that are taken for criminal purposes.”
   10         52.   In addition, the Sheriff’s and Fire Departments knew prior to the
   11 helicopter crash that government employees abusing access to celebrity-related
   12 information has long been a problem in Los Angeles. Examples include a sheriff’s
   13 deputy unlawfully leaking the arrest report of a prominent actor and the Los Angeles
   14 Police Department improperly disclosing photos of a famous recording artist
   15 depicting injuries from a domestic assault. With respect to the helicopter crash,
   16 Sheriff Villanueva has acknowledged that the involvement of a celebrity like Kobe
   17 Bryant, a singular figure in Southern California culture and a hero to millions
   18 around the world, creates “much more interest” among deputies.
   19         53.   Notwithstanding the above knowledge and his assurances to Mrs.
   20 Bryant, Sheriff Villanueva said nothing in his briefings with first responders at the
   21 accident scene regarding photography or respecting privacy.
   22    The Sheriff’s and Fire Departments Had No Policies to Prevent Violations of
   23   the Constitutional Right to Control the Death Images of Deceased Loved Ones
   24         54.   Since at least 2012, it has been clear in the Ninth Circuit that
   25 individuals have a substantive due process right under the United States Constitution
   26 to control the death images and physical remains of deceased family members. See
   27 Marsh v. Cnty. of San Diego, 680 F.3d 1148 (9th Cir. 2012). Nonetheless, and
   28 despite the Department’s awareness that improper death images are “a problem in

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    1 law enforcement across the nation,” neither the Sheriff’s Department nor the Fire
    2 Department had a policy at the time of the accident regarding the taking or sharing
    3 of photos of human remains.
    4         55.   Following the Los Angeles Times reports, the Sheriff’s Department
    5 issued a statement that the allegations regarding the accident-scene photos “are
    6 currently under investigation, as are the effectiveness of existing policies and
    7 procedures.” (Exhibit 1.) Days later, in a letter to the L.A. County Inspector
    8 General, Sheriff Villanueva admitted: “It is evident our photograph policy is
    9 deficient and this incident has identified a need for me to direct the creation of a new
   10 policy.” Similarly, in an interview with NBC-4 in March 2020, Sheriff Villanueva
   11 stated that the Department was “creating new [policies] that are very specific, with
   12 teeth in ‘em, up to and including a penalty of discharge for violation of these
   13 policies.”
   14         56.   In the following months, the Sheriff’s Department added an entirely
   15 new section to its Manual of Policies and Procedures, titled:
   16 “Photographs/Recordings at Scenes Where Human Remains Are Present.” (Exhibit
   17 2.) The new policy dictates that, “[i]n order to preserve the dignity and privacy of
   18 the deceased and their families, scenes where human remains are present shall only
   19 be photographed/recorded by Scientific Services Bureau or the Department of
   20 Medical Examiner (DME) personnel.” (Ex. 2 at 1.) The new policy further
   21 provides: “Any photograph, recording, or record produced by a Department member
   22 . . . shall be considered the sole property of the Department” and “[a]ny
   23 unauthorized release or sharing is strictly prohibited.” (Ex. 2 at 1.)
   24         57.   In interviews with Sheriff’s Department investigators regarding the
   25 improper photos, personnel throughout the chain of command confirmed that the
   26 Sheriff’s Department had no clear policy and had provided no training or instruction
   27 regarding photographs of human remains prior to the accident.
   28

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    1               a.    Numerous deputies who responded to the accident scene on
    2 January 26, 2020, including                            , and others, told Department
    3 investigators there was no instruction or briefing on the day of the accident
    4 regarding photography of the crash site or human remains.
    5               b.    Although many of the Sheriff’s Department personnel who
    6 obtained photos of the victims’ remains were in the midst of training to become
    7 sheriff’s deputies, had recently completed such training, or were themselves training
    8 officers, none demonstrated any awareness of a Department policy regarding the
    9 propriety of taking, possessing, or sharing photos of human remains, nor did they
   10 report having received any training on the subject prior to the Los Angeles Times
   11 reports in February 2020.
   12               c.    A captain for the Sheriff’s Department who was the senior-most
   13 supervisor at the makeshift command post on the day of the accident demonstrated
   14 no awareness of the Sheriff’s Department’s policy regarding use of personal cell
   15 phones to capture work-related environments, telling investigators that it was
   16 “absolutely” appropriate for department personnel to use personal cell phones to
   17 photograph accident scenes. The captain further implied that using personal cell
   18 phones to take photos of human remains would be appropriate to memorialize a
   19 scene, so long as the cell phone photos are provided to the Department’s homicide
   20 department. In interviews with investigators, the captain displayed no awareness of
   21 any department policy related to taking, possessing, or sharing photos of human
   22 remains, nor did he report having received any training on the subject.
   23               d.    A sergeant for the Sheriff’s Department who was second-in-
   24 command at the makeshift command post on the day of the accident told
   25 investigators that, even with the benefit of hindsight, there is nothing he would do
   26 differently regarding the way he supervised the deputies on the day of the accident.
   27
   28                                                                                        ,

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    1                                        The sergeant demonstrated no awareness of the
    2 Sheriff’s Department’s policy regarding use of personal cell phones to capture
    3 work-related environments, telling investigators that he believed it was appropriate
    4 for deputies at the crash site to use their cell phones to take photos of the scene. At
    5 one point in an interview with Department investigators, the sergeant stated:
    6
    7
    8
    9               e.     As of September 29, 2020, as discussed below in paragraph 70, it
   10 is a crime in California for a first responder to take photos of deceased individuals
   11 without a valid purpose.
   12         58.   Similarly, according to a lawsuit recently filed in Los Angeles Superior
   13 Court by a former Public Information Officer for the Fire Department who
   14 responded to the crash scene, Tony Imbrenda, the Fire Department had no policy at
   15 the time of the accident regarding photography at emergency incidents.
   16   The Sheriff’s Department Failed to Train Its Employees on the Department’s
         Policy Regarding Photos of Work-Related Scenes on Personal Cell Phones
   17
   18         59.   In addition to failing to establish a specific policy regarding the
   19 treatment and photographing of human remains, the Sheriff’s Department also did
   20 not follow or enforce its policy regarding deputies’ use of personal cell phones to
   21 capture work-related environments. That policy provides:
   22       Members shall not use a personal cellular telephone or any other similar
            personal communication or recording device to record, store,
   23       document, catalog, transmit, and/or forward any image, document,
            scene, or environment captured as a result of their employment and/or
   24       while performing official Department business that is not available or
            accessible to the general public.
   25
      (Exhibit 3 at 5.) According to the Sheriff’s Department’s Manual of Policies and
   26
      Procedures, supervisors must investigate reports of violations of the policy and “will
   27
      be held accountable for and evaluated on” their enforcement of the policy. (Ex. 3 at
   28

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    1 2.) Members of the Department who violate the policy “shall be subject to
    2 disciplinary action,” which could include “reprimand,” “suspension without pay,”
    3 “reduction in rank,” and/or “dismissal from the Department.” (Ex. 3 at 3-4.)
    4         60.   In direct contravention of this policy, the sergeant who was second-in-
    5 command at the Department’s command post on the day of the accident told
    6 Department investigators that the Lost Hills station had a policy and/or custom of
    7 encouraging Department personnel to photograph accident scenes using their
    8 personal cell phones so that the images could be posted on the station’s social media
    9 accounts, including Twitter and Facebook. The sergeant explained that, at the time
   10 he received the call to respond to the helicopter crash, he was at the scene of an
   11 automobile crash taking pictures on his personal cell phone. According to the
   12 sergeant,
   13
   14
   15
   16         61.   Sheriff Villanueva did not discipline the deputies who took cell-phone
   17 photos of the crash site and has stated publicly that the Department’s policies at the
   18 time did not prohibit the deputies’ actions. These statements and actions, combined
   19 with the significant number of deputies who took and/or shared cell-phone photos of
   20 the accident site, demonstrate that the Department failed to adequately train,
   21 supervise, and discipline its personnel regarding its policy related to the use of
   22 personal cell phones to photograph work-related scenes.
   23                    The Sheriff’s Department and Fire Department
                         Refuse to Provide Information to Mrs. Bryant
   24
   25         62.   After learning of the existence of the photos, attorneys for Mrs. Bryant

   26 sent letters to the Sheriff’s and Fire Department requesting that they take immediate
   27 action to secure all photos and videos of the crash in their possession, “including
   28 any photos or videos in the possession of or disseminated by Sheriff’s Department

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    1 personnel.” (Exhibit 4.) Mrs. Bryant further requested that the Sheriff’s
    2 Department and Fire Department conduct internal affairs investigations “to
    3 determine the extent of the unauthorized taking and dissemination of photos” and
    4 the identities of the deputies and firefighters involved. (Ex. 4 at 2, Ex. 5 at 2.)
    5        63.    On March 8, 2020, following news reports regarding the number of
    6 deputies who took improper photos, attorneys for Mrs. Bryant sent a follow up letter
    7 requesting more information about the Sheriff’s Department’s investigation of the
    8 deputies’ misconduct, including the identity of all personnel who took photos of the
    9 victims’ remains; the steps the department had taken to identify all personnel who
   10 had the photos on their personal devices; the steps the department had taken to
   11 determine whether and to what extent personnel who had such photos or recordings
   12 shared them with other members of the department or third parties; and the steps the
   13 department had taken to secure all photos or recordings of the victims’ remains in
   14 the possession of its personnel. (Exhibit 6.)
   15        64.    On March 26 and April 2, 2020, nearly a month after Mrs. Bryant first
   16 inquired about the misconduct, an attorney for the Sheriff’s Department wrote to
   17 Mrs. Bryant that the Department had no legal obligation to respond to her questions
   18 and would not do so. (Exhibits 7-8.) Mrs. Bryant received a nearly identical
   19 response from an attorney for the Fire Department in letters dated March 10 and 26,
   20 2020. (Exhibits 9-10.)
   21       The Sheriff’s Department Conducts a Belated, Deficient Investigation
   22        65.    In response to public shock and outrage following the Los Angeles
   23 Times reports, as well as scrutiny from the Sheriff’s Department’s Civilian
   24 Oversight Board, the Department announced that it would conduct an internal affairs
   25 investigation of the improper photos. In discussing his Department’s inexcusably
   26 belated investigation, Sheriff Villanueva stated on March 2, 2020: “All [photos of
   27 remains] that we know of that were in the possession of the eight individuals were
   28 deleted, and we’re hoping that that is the outcome of this—that there is no photos to

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    1 be circulated anywhere.” (Emphasis added.) Two months later, in May 2020,
    2 Sheriff Villanueva stated that the Department was “going through the final stages”
    3 of its investigation of the improper photos and, “once the information is developed
    4 and it’s done . . . we’re going to make the entire investigation public so everybody
    5 can read it for themselves.”
    6         66.   The Department has yet to deliver on Sheriff Villanueva’s promise of
    7 publicly reporting the results of the Department’s investigation, but Mrs. Bryant
    8 obtained the Department’s final investigative report via a motion to compel in
    9 January 2021. Substantively, the report reveals that the Sheriff’s Department has
   10 failed to take basic steps to ensure all copies of the improper photos are tracked
   11 down and sequestered.
   12               a.
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   16               b.
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    1              c.
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    8              d.
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   14              e.
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   23         The Deputy Defendants Exhibit Consciousness of Guilt by Making
                 False Exculpatory Statements to Department Investigators
   24
   25        67.   Each of the Deputy Defendants made false exculpatory statements to
   26 Department investigators in the wake of the citizen complaint. Their decision to
   27 hide the facts strongly suggests that their misconduct was more extensive than they
   28 have admitted.

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   17             b.
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    3             c.
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   21             d.
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    4                      The Los Angeles Times Reveals Additional
                           Details Regarding a Deputy’s Misconduct
    5
    6        68.    Although nowhere mentioned in the Department’s investigative report,
    7 in November 2020 the Los Angeles Times reported that the Sheriff’s Department had
    8 moved to discipline an unnamed deputy for broadly sharing photos of the victims’
    9 remains on his personal cell phone. The reporting cited the Sheriff’s Department
   10 disciplinary summary for the third quarter of 2020, which states that a deputy
   11 “[s]tored confidential photographs of a multi-agency investigation on a personal
   12 cellular phone, and shared the photographs with friends, family members, and co-
   13 workers on multiple occasions.”
   14 The Deputy Defendants Shared Photos of the Bryants’ Remains with Multiple
         People, Including Members of the Public, Without Any Legitimate Purpose
   15
             69. As detailed above, each of the Deputy Defendants (i) showed a
   16
      willingness to take and/or retain possession of photos of the Bryants’ remains on
   17
      their personal cell phones without any legitimate governmental purpose; (ii)
   18
      demonstrated a morbid curiosity in the photos; (iii) exhibited a willingness to share
   19
      the photos with others, including through electronic transmission, without any
   20
      legitimate governmental purpose; (iv) displayed consciousness of guilt by making
   21
      false exculpatory statements regarding the photos; and (v) destroyed evidence of
   22
      their possession and sharing of the photos despite an obligation to preserve it.
   23
      Based on the foregoing, Plaintiff is informed and believes, and thereon alleges,
   24
      that—in addition to the specific instances of improper sharing detailed above—the
   25
      Deputy Defendants each shared photos of the Bryants’ remains with multiple
   26
      people, including members of the public, without any legitimate governmental
   27
      purpose.
   28

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    1                      California Enacts a Criminal Law Against
                             Improper Photos of Human Remains
    2
    3        70.    In September 2020, responding to the Sheriff’s Department’s gratuitous
    4 taking and sharing of photos of the crash victims’ remains, the California state
    5 government enacted Assembly Bill 2655. See 2020 Cal. Stat. Ch. 219. Known
    6 informally as The Kobe Bryant Act of 2020, the law makes it a misdemeanor for a
    7 first responder, including a law enforcement officer, to photograph the remains of a
    8 crime or accident victim “for any purpose other than an official law enforcement
    9 purpose or a genuine public interest.” Cal. Pen. Code § 647.9(a), (c). As explained
   10 by the California legislator who authored the new law, “[o]ur first responders, when
   11 responding to an emergency, should not be taking very sensitive photographs . . . for
   12 their own pleasure.”
   13                Mrs. Bryant Has Suffered Severe Emotional Distress
   14        71.    Mrs. Bryant has suffered (and continues to suffer) severe emotional
   15 distress from the knowledge that images of her husband’s and daughter’s remains
   16 were taken and shared for the perverse gratification of law enforcement officers, and
   17 she fears that she and her family may confront the appalling photos at any moment
   18 on the internet. This fear is eminently reasonable in light of the prevalence of cloud
   19 storage (such as iCloud and Google Photos), text messaging, and social-media
   20 applications, through which photos can be stored and shared almost instantaneously
   21 (and sometimes inadvertently). When Mrs. Bryant sought assurances from the
   22 Sheriff’s Department that it had taken reasonable measures to control the spread of
   23 the photos, including whether it had “confiscated and/or inspected the electronic
   24 devices of the personnel who had or have photographs of the crash scene or victims’
   25 remains,” the Department refused to offer any response whatsoever. And at no
   26 point has the Department taken even the basic investigatory step of collecting a
   27 forensic image of the offending individuals’ electronic devices.
   28

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    1         72.   Mrs. Bryant’s fear has been exacerbated by the fact that, despite
    2 knowing about the photos within days of the crash, Sheriff Villanueva took none of
    3 the steps that a reasonable supervisor (let alone a highly-trained professional
    4 investigator) would take to prevent dissemination of harmful photos in his
    5 constructive possession. As a result of Sheriff Villanueva’s offer to his deputies that
    6 they could avoid investigation and discipline by deleting the evidence of their
    7 misconduct, Mrs. Bryant must live with uncertainty regarding how many photos
    8 were taken, whether they remain stored on the cloud, whether and how they were
    9 shared via text message, email, or social media applications, and whether people to
   10 whom the deputies transmitted the photos continue to possess them. Absent this
   11 information, it is impossible to rule out that the photos will surface and go viral
   12 online. This uncertainty has caused Mrs. Bryant severe stress and anguish.
   13         73.   Mrs. Bryant’s anxiety has been reinforced by widespread discussion of
   14 the photos online. In March 2020, Mrs. Bryant encountered an Instagram user who
   15 stated that she had seen pictures of Kobe and Gianna’s bodies at the accident scene,
   16 and numerous Twitter users made similar statements even before the Los Angeles
   17 Times publicized that Department personnel had taken and shared improper photos
   18 of the victims’ remains. Other online commenters, along with the National
   19 Enquirer tabloid publication, have claimed that images of Kobe and Gianna’s
   20 remains are being bought, shared, and/or sold on the dark web.
   21         74.   These accounts are eminently plausible in light of the sheer number of
   22 deputies who took and shared photos of the Bryants’ remains and the Department’s
   23 grossly inadequate steps to prevent their dissemination. For the foreseeable future,
   24 Mrs. Bryant and her family will almost certainly continue to encounter claims that
   25 photos of their loved ones’ remains are circulating online, and they will have no way
   26 of knowing whether such claims are true or false.
   27         75.   Avoiding thoughts of the Sheriff’s Departments’ misconduct has been
   28 impossible, as Mrs. Bryant is repeatedly reminded of it online. Online trolls have

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    1 exploited the tragic circumstances and the Sheriff’s Department misconduct for the
    2 purpose of taunting and hurting Mrs. Bryant. These experiences provide a constant
    3 reminder that photos of her husband’s and daughter’s remains may be circulating in
    4 the public realm as a result of the Sheriff’s Department’s gross misconduct.
    5                      Mrs. Bryant Served a Notice of Claims in
                          Accordance with the Government Claims Act
    6
    7         76.    On May 8, 2020, pursuant to California Government Code section 900
    8 et seq., Mrs. Bryant filed a written notice of claims against the Sheriff’s Department,
    9 Sheriff Villanueva, and unknown deputies, based on the same underlying facts and
   10 issues alleged in this complaint. As of this filing, the County has not substantively
   11 responded to Mrs. Bryant’s notice of claim or provided a concrete timeline for when
   12 it will respond. Per statute, the County’s failure to act on Mrs. Bryant’s claims
   13 within the time prescribed by the California Government Code constitutes a denial,
   14 such that Mrs. Bryant’s claims are ripe for review by this Court.
   15         77.    On July 20, 2020, pursuant to California Government Code section 900
   16 et seq., Mrs. Bryant filed a written notice of claims against the Fire Department and
   17 unknown members of the Fire Department, based on the same underlying facts and
   18 issues alleged in this complaint. As of this filing, the County has not substantively
   19 responded to Mrs. Bryant’s notice of claim or provided a concrete timeline for when
   20 it will respond. Per statute, the County’s failure to act on Mrs. Bryant’s claims
   21 within the time prescribed by the California Government Code constitutes a denial,
   22 such that Mrs. Bryant’s claims are ripe for review by this Court.
   23                              FIRST CAUSE OF ACTION
   24           42 U.S.C. § 1983 (Monell), Violation of Fourteenth Amendment
   25
           (Against the Sheriff’s Department, the Fire Department, and the County)
   26
   27         78.    Plaintiff incorporates herein and realleges the allegations in paragraphs

   28 1 through 77, inclusive, as if fully set forth herein.

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    1         79.   By taking and sharing photos of Kobe and Gianna Bryants’ remains
    2 without any legitimate governmental purpose, members of the Sheriff’s Department,
    3 including but not limited to the Deputy Defendants, and members of the Fire
    4 Department deprived Plaintiff of her substantive due process right to control the
    5 physical remains, memory, and death images of her deceased husband and child.
    6 See Marsh v. Cnty. of San Diego, 680 F.3d 1148 (9th Cir. 2012). In taking these
    7 actions, members of the Sheriff’s Department and Fire Department acted in a
    8 manner that shocks the conscience and offends the community's sense of fair play
    9 and decency.
   10         80.   Members of the Sheriff’s Department, including but not limited to the
   11 Deputy Defendants, and members of the Fire Department were acting under color of
   12 state law at the time of their actions. Sheriff’s and Fire Department personnel took
   13 photos of the Bryants’ remains while in uniform, on duty, and in an area where
   14 public access was prohibited and only first responders (such as Sheriff’s and Fire
   15 Department personnel) were allowed. After the photos were taken, Sheriff’s and
   16 Fire Department personnel possessed and shared them while in uniform and/or on
   17 duty, or otherwise in connection with or by virtue of their employment with the
   18 Sheriff’s or Fire Department.
   19         81.   Pursuant to 42 U.S.C. § 1983, public entities are liable for
   20 constitutional violations when execution of their official policy or custom deprives
   21 an individual of her constitutional rights. A public entity is also liable for
   22 constitutional violations when its failure to establish a policy or procedure or to
   23 properly train, supervise, and/or discipline its employees amounts to deliberate
   24 indifference to the rights of persons with whom its employees come into contact.
   25         82.   The Sheriff’s Department, the Fire Department, and the County acted
   26 with deliberate indifference to the constitutional rights of Plaintiff and others
   27 similarly situated through the conduct and omissions set forth above, which consist
   28 of the following customs, policies, and/or patterns of practice:

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    1               a.    Failing to adequately train and supervise Sheriff’s Department
    2 and Fire Department personnel to ensure they do not take or share photographs of
    3 human remains without any legitimate governmental purpose;
    4               b.    Failing to establish a policy or procedure addressing the
    5 treatment of human remains, including the taking or sharing of photographs of
    6 human remains without any legitimate governmental purpose;
    7               c.    Failing to adequately investigate and discipline Sheriff’s
    8 Department and Fire Department personnel who have taken and/or shared
    9 photographs of human remains without any legitimate governmental purpose.
   10        83.    Given the frequency with which Sheriff’s and Fire Department
   11 personnel work at crime and accident scenes involving fatalities, it was obvious that
   12 some would be tempted to take photos of victims’ remains on their personal cell
   13 phones. Sheriff Alex Villanueva and the Sheriff’s Department knew that some law
   14 enforcement officers keep “death books” containing photos of victims’ remains and
   15 that officers taking pictures for non-law-enforcement purposes is a problem “across
   16 the nation.” The Sheriff’s and Fire Departments were also aware that, on account of
   17 the large number of celebrities that live or work in the Los Angeles area, their
   18 personnel often work at accident and crime scenes that are the subject of intense
   19 public interest. Notwithstanding this knowledge and awareness, the Sheriff’s
   20 Department, the Fire Department, and the County failed to establish a policy
   21 regarding photographs of human remains or to train, supervise, investigate, or
   22 discipline personnel related to the taking and sharing of photos of human remains
   23 without any legitimate governmental purpose.
   24        84.    Based on the facts set forth above, the Sheriff’s Department and Fire
   25 Department were on actual and/or constructive notice that the absence of a policy
   26 regarding photographs of human remains would likely result in violations of
   27 community members’ constitutional rights.
   28

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                                       FIRST AMENDED COMPLAINT
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    1         85.    The actions of Sheriff’s Department and Fire Department personnel,
    2 including but not limited to the Deputy Defendants, reflect the pattern of practice
    3 and/or custom of the Sheriff’s Department and Fire Department, as evidenced by the
    4 fact that the misconduct was not limited to a lone employee. Rather, multiple
    5 members of the Sheriff’s Department and Fire Department took and shared photos
    6 of the Bryants’ remains without any legitimate governmental purpose. In addition,
    7 Sheriff Villanueva, whose entire career in law enforcement has been with the
    8 Sheriff’s Department, has stated based on personal knowledge that unnecessary
    9 death images are a widespread problem in law enforcement.
   10         86.    As a direct and proximate result of the Sheriff’s Department’s, Fire
   11 Department’s, and the County’s failure to establish a policy regarding photographs
   12 of human remains or to train, supervise, investigate, or discipline its employees
   13 regarding unnecessary death images, as well as the Sheriff’s and Fire Departments’
   14 pattern of practice and/or custom of unnecessarily taking and sharing death images,
   15 Plaintiff has suffered (and continues to suffer) severe emotional distress in an
   16 amount to be proven at trial.
   17                              SECOND CAUSE OF ACTION
   18
                                               Negligence
   19
                                  (Against the Deputy Defendants)
   20
              87.    Plaintiff incorporates herein and realleges the allegations in paragraphs
   21
        1 through 86, inclusive, as if fully set forth herein.
   22
              88.    Pursuant to California Government Code section 820(a), public
   23
        employees are liable for injuries caused by their acts or omissions to the same extent
   24
        as a private person.
   25
              89.    The Deputy Defendants owed a duty to Plaintiff to use ordinary care in
   26
        their treatment of the Bryants’ physical remains, including an obligation to refrain
   27
        from taking and/or sharing images of them for personal, non-law-enforcement
   28

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                                          FIRST AMENDED COMPLAINT
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    1 purposes. Cal. Civ. Code § 1714. The Deputy Defendants additionally owed a duty
    2 to Plaintiff to use ordinary care in preventing dissemination of any images of the
    3 Bryants’ remains once the images were created and/or were within their possession.
    4         90.   The Deputy Defendants breached their duties to Plaintiff by sharing
    5 photos of the Bryants’ physical remains for personal, non-law-enforcement
    6 purposes, including by electronic transmission and with members of the public.
    7         91.   The Deputy Defendants foresaw or should have foreseen that their
    8 conduct described above would injure Plaintiff.
    9         92.   As a direct and proximate result of the Deputy Defendants’ conduct,
   10 Plaintiff has suffered (and continues to suffer) severe emotional distress in an
   11 amount to be proven at trial.
   12         93.   In committing the acts alleged herein, the Deputy Defendants are guilty
   13 of oppression, fraud, and/or malice within the meaning of California Civil Code
   14 section 3294, entitling Plaintiff to punitive or exemplary damages in an amount
   15 appropriate to punish the Doe Defendants and to make an example of them to the
   16 community.
   17                             THIRD CAUSE OF ACTION
   18                                        Negligence
   19                            (Against the Entity Defendants)
   20         94.   Plaintiff incorporates herein and realleges the allegations in paragraphs
   21 1 through 93, inclusive, as if fully set forth herein.
   22       95. Members of the Sheriff’s Department, including but not limited to the
   23 Deputy Defendants, and members of the Fire Department owed a duty to Plaintiff to
   24 use ordinary care in their treatment of the Bryants’ physical remains, including an
   25 obligation to refrain from taking and/or sharing images of them for personal, non-
   26 law-enforcement purposes. Cal. Civ. Code § 1714. Members of the Sheriff’s
   27 Department, including but not limited to the Deputy Defendants, and members of
   28 the Fire Department also owed a duty to Plaintiff to use ordinary care in preventing

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                                        FIRST AMENDED COMPLAINT
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    1 dissemination of any images of the Bryants’ remains once the images were created
    2 and/or were within their possession.
    3         96.   Multiple members of the Sheriff’s Department, including but not
    4 limited to the Deputy Defendants, breached their duties to Plaintiff by taking and/or
    5 sharing photos of the Bryants’ physical remains for personal, non-law-enforcement
    6 purposes, including by electronic transmission and with members of the public.
    7 These members of the Sheriff’s Department foresaw or should have foreseen that
    8 their conduct would injure Plaintiff.
    9         97.   Similarly, multiple members of the Fire Department breached their
   10 duties to Plaintiff by taking and/or sharing photos of the Bryants’ physical remains
   11 without any legitimate governmental purpose. These members of the Fire
   12 Department foresaw or should have foreseen that their conduct would injure
   13 Plaintiff.
   14         98.   As a direct and proximate result of the conduct described above,
   15 Plaintiff has suffered (and continues to suffer) severe emotional distress in an
   16 amount to be proven at trial.
   17         99.   Pursuant to California Government Code section 815.2, the Sheriff’s
   18 Department, the Fire Department, and the County are liable for injuries proximately
   19 caused by acts or omissions of their employees within the scope of their
   20 employment. At all times material, the Deputy Defendants and other members of
   21 the Sheriff’s Department who took and/or shared photos of the Bryants’ remains for
   22 personal, non-law-enforcement purposes were employed by the Sheriff’s
   23 Department and were under the Department’s direction and control when they
   24 engaged in the conduct described above. Further, at all times material, members of
   25 the Fire Department who took and/or shared photos of the Bryants’ remains without
   26 any legitimate governmental purpose were employed by the Fire Department and
   27 were under the Fire Department’s direction and control when they engaged in the
   28 conduct described above. These members of the Sheriff’s and Fire Departments

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    1 were able to take photos of the Bryants’ physical remains by virtue of their access to
    2 the crash site while on duty, and Sheriff’s and Fire Department personnel who
    3 shared the photos without any legitimate purpose had access to them by virtue of
    4 their employment with the Sheriff’s and Fire Departments, respectively. Hence, the
    5 actions described above were taken within the course and scope of the individuals’
    6 employment, and the Sheriff’s Department, the Fire Department, and the County are
    7 liable for their negligent and wrongful conduct.
    8                              FOURTH CAUSE OF ACTION
    9                                       Invasion of Privacy
   10                                       (Against              )
   11
              100. Plaintiff incorporates herein and realleges the allegations in paragraphs
   12
        1 through 99, inclusive, as if fully set forth herein.
   13
              101. Plaintiff has a privacy interest in the physical remains of her loved
   14
        ones, Kobe and Gianna Bryant.
   15
              102. Upon information and believe, Defendant                     disclosed photos
   16
        of the Bryants’ remains to multiple members of the public, both in person and
   17
        electronically.
   18
              103. Sharing photos of accident victims’ physical remains without any
   19
        legitimate governmental purpose is offensive and objectionable to a reasonable
   20
        person of ordinary sensibilities.
   21
              104. At the time Defendant               shared the photos of the Bryants’ remains,
   22
        no photos of their remains had otherwise been made public, and details about the
   23
        state of the victims’ remains were not public knowledge. Sharing the graphic facts
   24
        disclosed by the photos served no legitimate public purpose.
   25
              105. As a direct and proximate result of the conduct of Defendant
   26
        Plaintiff has suffered (and continues to suffer) severe emotional distress in an
   27
        amount to be proven at trial.
   28

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                                            FIRST AMENDED COMPLAINT
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    1        106. Pursuant to California Government Code section 820(a), Deputy
    2 is liable for injuries caused by their acts or omissions to the same extent as a private
    3 person.
    4        107. In committing the acts alleged herein, Deputy           is guilty of
    5 oppression, fraud, and/or malice within the meaning of California Civil Code
    6 section 3294, entitling Plaintiff to punitive or exemplary damages in an amount
    7 appropriate to punish Defendant          and to make an example of him to the
    8 community.
    9                             FIFTH CAUSE OF ACTION
   10                                   Invasion of Privacy
   11                            (Against the Entity Defendants)
   12        108. Plaintiff incorporates herein and realleges the allegations in paragraphs
   13 1 through 107, inclusive, as if fully set forth herein.
   14       109. Plaintiff has a privacy interest in the physical remains of her loved
   15 ones, Kobe and Gianna Bryant.
   16       110. Upon information and believe, members of the Sheriff’s Department,
   17 including but not limited to the Deputy Defendants, disclosed photos of the Bryants’
   18 remains to multiple members of the public, both in person and electronically.
   19        111. Sharing photos of accident victims’ physical remains without any
   20 legitimate governmental purpose is offensive and objectionable to a reasonable
   21 person of ordinary sensibilities.
   22        112. At the time that members of the Sheriff’s Department, including but not
   23 limited to the Deputy Defendants, shared the photos of the Bryants’ remains, no
   24 photos of their remains had otherwise been made public, and details about the state
   25 of the victims’ remains were not public knowledge. Sharing the graphic facts
   26 disclosed by the photos served no legitimate public purpose.
   27        113. As a direct and proximate result of members of the Sheriff’s
   28 Department publicly disclosing photos of the Bryants’ remains without any

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    1 legitimate governmental purpose, Plaintiff has suffered (and continues to suffer)
    2 severe emotional distress in an amount to be proven at trial.
    3         114. Pursuant to California Government Code section 815.2, the Sheriff’s
    4 Department and the County are liable for injuries proximately caused by acts or
    5 omissions of their employees within the scope of their employment. At all times
    6 material, the Deputy Defendants and other members of the Sheriff’s Department
    7 who publicly disclosed photos of the Bryants’ remains were employed by the
    8 Sheriff’s Department and were under the Department’s direction and control when
    9 they engaged in the conduct described above. These members of the Department
   10 were able to take photos of Kobe and Gianna Bryant’s physical remains by virtue of
   11 their access to the crash site while on duty, and Sheriff’s Department personnel who
   12 shared the photos had access to them by virtue of their employment with the
   13 Department. The acts of these members of the Department were committed within
   14 the course and scope of their employment, and the Sheriff’s Department and County
   15 are liable for their negligent and wrongful conduct.
   16                                PRAYER FOR RELIEF
   17         WHEREFORE, Plaintiff respectfully prays for the following relief:
   18         1.    For compensatory damages in an amount to be proven at trial;
   19         2.    For any additional general, specific, consequential, or incidental
   20 damages in an amount to be proven at trial;
   21         3.    For nominal damages;
   22         4.    For punitive damages against the Deputy Defendants in an amount
   23 appropriate to punish them and make an example of them to the community;
   24         5.    For an award that Defendants pay all of Plaintiff’s costs and attorneys’
   25 fees;
   26         6.    For all interest, as permitted by law; and
   27         7.    For such other relief as the Court deems just and proper.
   28

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                                       FIRST AMENDED COMPLAINT
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    1 DATED: February XX, 2021           Respectfully submitted,
    2                                    MUNGER, TOLLES & OLSON LLP

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    4
                                         By:
    5                                                          LUIS LI
    6
                                         Attorneys for Plaintiff Vanessa Bryant
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    1                           DEMAND FOR JURY TRIAL
    2       Plaintiff demands a trial by jury on all issues triable by jury.
    3
    4 DATED: February XX, 2021              Respectfully submitted,
    5                                       MUNGER, TOLLES & OLSON LLP

    6
    7
                                            By:
    8                                                                LUIS LI
    9
                                            Attorneys for Plaintiff Vanessa Bryant
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                          Exhibit 1
        9/10/2020                                                                    LASD Department Statement | Los Angeles County Sheriff's Department




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                                                         BY SIB STAFF /             FEBRUARY 28, 2020




                                                         The Sheriff’s Department is aware of recent media reports alleging
                                                         deputies shared images from the January 26th, 2020 helicopter crash,
                                                         which tragically claimed the lives of nine people. The facts surrounding
                                                         these allegations are currently under investigation, as are the
                                                         effectiveness of existing policies and procedures. The Sheriff is deeply
                                                         disturbed at the thought deputies could allegedly engage in such an
                                                         insensitive act. A thorough investigation will be conducted by the
                                                         Department, with the number one priority of protecting the dignity and
                                                         privacy of the victims and their families.


                                                         -Los Angeles County Sheriff’s Department



                                                                                                    Ask LASD Bot




                                                                                                                                                       Privacy - Terms




        https://lasd.org/lasd-department-statement/                                                                                                                      1/2
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                          Exhibit 2
          Manual of Policy and Procedures : 5-09/475.00 Photographs/Recordings at Scenes Where
                                       Human Remains are Present
____________________________________________________________________________________________

          5-09/475.00 Photographs/Recordings at Scenes Where Human Remains
          are Present
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          In the performance of their daily duties, Department members are entrusted to respond to scenes that are not
          accessible to the general public, often times where human remains are present, such as:

                                                                                        Mass casualty incidents;
                                                                                        Natural disasters;
                                                                                        Homicides;
                                                                                        Deputy/officer-involved shootings;
                                                                                        Suicides;
                                                                                        Traffic collisions;
                                                                                        Train deaths; and
                                                                                        Other non-criminal deaths.
          The response by Department members is a valued and vital component of public safety in ongoing
          investigations. Information learned at these scenes, including any photographs/recordings taken, shall only be
          shared with or disclosed to the lead investigators or the investigator’s supervisors, unless otherwise required
          by law.

          In order to preserve the dignity and privacy of the deceased and their families, scenes where human remains
          are present shall only be photographed/recorded by Scientific Services Bureau or the Department of Medical
          Examiner (DME) personnel. Only when extenuating circumstances exist may Department members take
          photographs/recordings at the direction of the lead investigators or the investigator’s supervisors. All
          photographs/recordings shall be taken on a Department-issued device, unless a personal device is used
          exclusively to photograph or record legitimate Department business (see MPP section 3-01/100.46, Use of
          Communication Devices).

          Fatal traffic collisions investigated by Traffic Services Detail and/or station traffic investigators assigned to
          investigate fatal traffic collisions are allowed to photograph collisions scenes during the course of the
          investigation; however, the photographs shall be safeguarded in compliance with this policy, and/or any
          policies mentioned herein.

          Any photograph, recording, or record produced by a Department member, whether captured on a Department
          issued device or personal device, shall be considered the sole property of the Department. Any unauthorized
          release or sharing is strictly prohibited.

          Any digitally captured photographs/recordings, shall be disclosed to the assigned investigator or the
          investigator’s supervisors. The Department member shall preserved the photographs/recordings pending the
          transfer of all related images for evidence storage by a trained Department member from the Fraud and
          Cyber Crimes Bureau, Technical Operations Crew, or Homicide Bureau, Body Worn Camera Unit.

          Scene photographs/recordings taken or captured by Department members shall not, under any
          circumstances, be disclosed to anyone other than the lead investigators or the investigator’s supervisors,
          unless otherwise required by law. If the investigation is being handled by an outside authority such as a
   ______________________________________________________________________________________________________

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          Manual of Policy and Procedures : 5-09/475.00 Photographs/Recordings at Scenes Where
                                       Human Remains are Present
____________________________________________________________________________________________

          federal or state agency, photographs/recordings should be given to that agency only with the concurrence of
          the Department’s lead investigator. The unauthorized sharing of photographs/recordings and/or scene
          information not only violates public trust but it also may subject the individual and the Department to civil
          liability. Scene information, especially photographs/recordings shall be guarded with the utmost respect to
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          protect the integrity of the investigation.

          Nothing in this policy precludes a Department member’s obligation to activate their Department issued body
          worn camera pursuant to MPP section 3-06/200.08, Body Worn Cameras – Activation.




   ______________________________________________________________________________________________________

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                          Exhibit 3
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                                VOLUME 3 - CHAPTER 1

                                   POLICY AND ETHICS


  3-01/000.00 POLICY AND ETHICS

  The function of this Department involves the responsibility for the protection of life and
  property and enforcement of the law. Toward this end, all employees have an obligation
  to the public we serve to develop and maintain the highest ethical standards in both
  personal and official conduct.

  The Policy and Ethics chapter outlines the Department's policies in these matters. All
  employees shall conform with the provisions contained herein.


  3-01/000.10 PROFESSIONAL CONDUCT

  All Department members shall be held accountable for their utterances, writings, conduct,
  and visual representations, including electronic and web-based communications, when
  they conflict with Our Core Values, Our Mission, or Our Creed and personnel can
  reasonably be identified as Department members. Personnel who cause undue
  embarrassment or damage the reputation of and/or erode the public’s confidence in the
  Department shall be deemed to have violated this policy and shall be subject to
  counseling and/or discipline.

  Unit commanders shall ensure copies of Our Mission, Our Core Values, and Our Creed
  are clearly and prominently displayed and maintained in the public lobbies of all Sheriff’s
  Department facilities.

  Unit Commanders shall ensure copies of Our Mission, Our Core Values, and Our Creed
  are clearly and prominently displayed and maintained within a high-traffic work area in all
  Sheriff’s Department’s facilities (e.g., briefing room) for viewing by assigned personnel.

  Unit commanders shall routinely express to the members of their staff their expectations
  of acceptable conduct, including the tenets of the Core Values. The message that shall
  be conveyed to each employee is, “You are part of something greater than yourself.
  Don’t dishonor it!”


  3-01/000.13 PROFESSIONAL CONDUCT - CORE VALUES

  Members shall conduct themselves in a manner consistent with the Department’s Core
  Values. Members shall not ignore nor contradict the Department’s Core Values.
  Examples of conduct inconsistent with the Department’s Core Values include, but are not
  limited to, the following:



                                               1
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     1. Conduct or behavior resulting from a situational outburst of emotion including, but
        not limited to, the use of profanity and/or other inappropriate, inconsiderate, and/or
        insensitive language, phrases, or terms of speech;
     2. Conduct or behavior that demonstrates a bias, prejudice, and/or intolerance, or
        demonstrates a trend or pattern of undesirable and/or unprofessional behavior;
        and/or,
     3. Conduct or behavior so egregious that it constitutes a severe and immediate threat
        to the integrity of the Department and/or jeopardizes the health, safety, and/or
        welfare of the public including, but not limited to, criminal misconduct of members,
        and/or the misuse of Department assets, resources, or intellectual property.


  3-01/000.15 ELECTRONIC AND WEB-BASED COMMUNICATIONS

  Electronic and web-based communications include any medium used to deliver
  information electronically or digitally. Examples of electronic and web-based
  communications include, but are not limited to, websites, “smart” phone technologies, text
  messaging, Nixle, electronic mail (email) and “social media” sites such Facebook,
  Myspace, Pinterest, and Twitter; photo sharing websites such as Flickr; video sharing
  websites such as YouTube; and/or any other similar electronic or digital delivery system.

  “Social media” includes any electronic medium where users may create, share, and view
  user-generated content, including uploading or downloading videos or still photographs,
  blogs, video blogs, podcasts, or instant messages, or online social networking content.


  3-01/005.00 ACCOUNTABILITY

  All Department members shall be held accountable to the Sheriff through the defined
  chain of command.

     •   accountability is the absolute obligation that all members be personally
         answerable for their individual actions. It is the responsibility of all members to
         meet the standards of performance established for their positions. Accountability
         is also a commitment to the Department and the public we serve;
     •   all members will be evaluated on their compliance with the Department’s Manual of
         Policy and Procedures, all Division Directives in support of the Manual, statutory
         and case law, Our Mission Statement, Our Core Values statement and the Law
         Enforcement Code of Ethics; and
     •   supervisors, managers, Directors, and executives, both sworn and professional
         staff, will be held accountable for and evaluated on enforcement of the
         aforementioned areas as well as the procedures outlined in the Los Angeles
         County Fiscal Manual and the Los Angeles County Purchasing Policy Manual.
         Failure to adhere may subject violators to discipline.




                                               2
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  3-01/030.10 OBEDIENCE TO LAWS, REGULATIONS, AND ORDERS

     a) Members shall not willfully violate any federal statute, state law or local ordinance;
     b) Members shall conform to and abide by the following:
            • Charter of Los Angeles County;
            • Los Angeles County Code; and
            • Rules of the Department of Human Resources;
     c) Members shall obey and properly execute all lawful orders issued by any
        supervisor of higher rank or classification or who is officially acting in such
        capacity;
     d) When assigned to duty with another member of the Department, an employee
        shall be subject to disciplinary action for any violation by the other member of any
        provision of this chapter unless the employee was unaware of the violation or
        unless the employee, if the situation permits safe and prudent action, attempts in
        good faith to prevent the violation and, at the earliest reasonable time, reports the
        violation to his supervisor;
     e) Members who violate any rules, regulations, or policies of the Department or the
        County, shall be subject to disciplinary action. The commission or omission of
        any other act contrary to good order and discipline shall also be the subject of
        disciplinary action;
     f) Members who are arrested or detained for any offense, or named as a suspect,
        other than an infraction under the Vehicle Code, shall immediately notify their
        immediate supervisor or Watch Commander of the facts of the arrest or detention
        or allegation.

  After business hours, if the member is unable to contact their immediate supervisor or
  Watch Commander at the Unit of Assignment, the member shall contact Sheriff’s
  Headquarters Bureau and request immediate notification to their Unit Commander. The
  member shall provide details of the arrest or detention to Sheriff’s Headquarters Bureau,
  including alleged charge(s), location, police agency jurisdiction, and return phone number
  where the member can be reached, for relay to the Unit Commander. The Sheriff’s
  Headquarters Bureau member receiving notification shall immediately notify the
  employee’s Unit Commander.

  The Unit Commander shall immediately notify Internal Affairs Bureau. The employee’s
  Unit Commander shall immediately respond to the member’s location if the member is
  arrested and taken into custody.

  According to the nature of the offense and in conformance with the rules of the
  Department of Human Resources, disciplinary action may result and may include, but is
  not limited to, the following:

     •   a reprimand (written);
     •   suspension without pay;
     •   reduction in rank; and/or



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     •   dismissal from the Department.

  NOTE:          For purposes of this section, any reference to “members” hall include any
                 member of the Department, both sworn and professional staff.


  3-01/030.13 RELATIONSHIPS AND MENTORING

  The Los Angeles County Sheriff’s Department believes our members are our most
  valuable investment and precious resource.

  Our Department’s Core Values are intrinsic principles designed to underscore our belief
  that regardless of rank or position, our members are, first and foremost, leaders in our
  society.

  As a community leader, our members assume a significant responsibility in protecting and
  serving the public. Consequently, high standards and high expectations are placed
  upon the conduct of our members. As a result, our members enjoy a considerable level
  of trust. In order to remain beneficiaries of the public trust, we must balance the rights of
  our members with the responsibility to maintain the highest standards of professional and
  personal conduct.

  As a leader in the Los Angeles County Sheriff’s Department, it is a fundamental
  responsibility of every Department executive, manager, and/or supervisor to take an
  active role in the performance of subordinates and develop ongoing strategies to
  enhance their professional performance.

  The Department and its members have an affirmative duty to intervene in the professional
  performance of another member (or when a personal issue or behavior exposes the
  Department or the member to risk) when it is determined to be in the best interest of the
  member or the organization. It is the intuitive, empathetic, and courageous leader who is
  prepared to provide guidance, wisdom, and counsel to a colleague whose performance or
  behavior demonstrates the need for intervention.

  Intervention can take many forms. We are fortunate to have the services of a wide range
  of professionals who are ready to assist Department members. Employee Support
  Services Bureau (ESSB), including the Chaplain Program, Peer Support Program, and
  Counseling and Consulting Services, provides the foundation for early intervention
  services.

  The Performance Mentoring Program (PMP) is another proactive, early intervention
  program designed to enhance a member’s professional performance through guidance
  and supervision when it is determined the member may benefit from a more structured
  plan. Supervisors and managers carefully monitor the employee’s progress to ensure
  they remain effective and productive members of the Department.




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  the General Public and the Media" and "Dissemination of Criminal Record Information" as
  detailed in the Miscellaneous Administrative Procedures chapter.


  3-01/100.46 USE OF PERSONAL COMMUNICATION DEVICES

  Absent extenuating circumstances, members shall not use a personal cellular telephone
  or other similar personal communication/recording device for a Department-related
  business purpose (i.e., coordinating field units to a radio call, contacting a victim or
  witness) when an established, Department-authorized communication device/system is
  available and/or a Department-authorized regulation/protocol has been established (e.g.,
  Department radio/communications systems, field supervisor’s cellular telephone, Station
  telephone, etc.).

  NOTE:          This prohibition shall apply to the use of the cellular telephone for both
                 voice communications as well as data (text) communications.

  Members shall not use a personal cellular telephone or any other similar personal
  communication or recording device to record, store, document, catalog, transmit, and/or
  forward any image, document, scene, or environment captured as a result of their
  employment and/or while performing official Department business that is not available or
  accessible to the general public. Official Department business shall include, but is not
  limited to, confidential, sensitive, or copyrighted information that is printed, audio
  recorded, photographed, or video recorded; information related to any past, present, or
  anticipated criminal, civil, or administrative investigation, including reports, declarations,
  evidence, photographs, videos, or audio recordings; and/or, photographs of suspects,
  arrestees, defendants, evidence, or crime scenes.

  NOTE:          A personal cellular telephone or any other similar personal communication
                 or recording device used exclusively to record contacts with members of
                 the public during legitimate Department business (e.g., traffic stops, etc.)
                 are exempt from the provisions of this section.


  3-01/100.50 DIVISION OR UNIT MANUAL

  Unit Commanders shall establish procedural manuals for their respective commands.
  These manuals shall not be in conflict with the Department manual and the subject matter
  shall be limited to procedures involving only the specific command or Division.


  3-01/100.55 UNIT COMMANDERS' CHANGE OF COMMAND RESPONSIBILITIES

  Unit Commanders shall complete the Department Change of Command (SH-AD-601)
  when assuming a new or transfer of command situation. During a transfer of command,
  it shall be the responsibility of both the outgoing and incoming Unit Commander to be



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                          Exhibit 4
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                                                             MUNGER, TOLLES & OLSON LLP
RONALD L OLSOt-l                                                                                                                f>JICHOLAS D, FRAM        TERRA D LAUG HTOt-.1
                                                                       350 SOUTH      GRAND AVENUE
ROBERT E DC:NHAH                                                                                                                  JOHN L SCHWAS                ROWLEY J RICE
.JEFFREY I WEINBERGER                                                                                                           ASHLEY D, KAPLAN       JEREMY S KREISBERG•
CARY B LERMAN                DANIEL                                          FIFTIETH      FLOOR                                                              JOHN D MAHER
                                                                                                                             JESSICA RE1CH BARIL                GINA F ELLIOTT
GREGORY P STONE              M!R!AM
BRAO D BRIAN                                                                                                                        JULIANA M YEE      BRANDON R. TEACHOUT
                             MISTY M SANFORD                  LOS    ANGELES,   CALIFORNIA 9007 I -3426                                                 SEGUN I BABATUNDE 11
BRADLEY S, PHfLLIPS                                                                                                           JEREMY K BEECHER
                             HA!LYN J, CHEN                                                                                                                 CARSON C, ZHENG
GEORGE N GARVEY              BETHANY W l<R!STOVICH                                                                          MATTHEW K DONOHUE                 LUCAS J AITTA!Z
WILLIAM O TEMKO                                                      TELEPHONE (2 I 3l 683-91 00                          EMILY CURRAN+iUBER'TY        USHA CHILUKURI VANCE
                             .JACOB S KAEILKAMP
JOHN W SPIEGEL                                                                                                              JORDAN X NAVARETTE             BRIAN J SPRINGER
                             JEFrREY Y VVU
DONALD B VERRILLI, JR •
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TERRY E SANCHEZ                                                                                                                                                   Vl~~CENT UNG
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STEVEN M PERRY
                             KYLE W, MACH                                                                                         C HUNTER HAYES            BRENDAN CANTS"
MARK B H£LM
                             HEATHER E TAKAHA$HI                                                                                                             MARKUS BAA.ZILL
JOSEPH D, L£.E                                                                                                             lREVOR N. TEMPLETON                  MARI T SA!GAL
                             E.R!N J COX
MlCHAEL R DOYEN                                                                                                              SKYLAR D    BROOK$              LAURENT Ross•
MICHAEL E SOLOFF             BENJAMIN J HORWICH
                             E MARTIN ESTRADA                                                                                 ELIZABETH R OYER                   ZOE Bi::DELL ..
GREGORY D PH!LUPS                                                                                                                                                 BEN 8AROKH
                             MATn-lE\N A. MACDONALD                                                                                SARAH S LEE                         ABE DYK
KATHLEEN M M·"DOVvELL                                                      560 Ml5510N        STREET
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THOMAS B WALPER              ELAINE J GOLDENBERG•                                                                               UI.URA M LOPE'.Z
                                                                         TWENTY-SEVENTH         FLOOR
HENRY WElSSMANN              MARK R YOHALEM                                                                                   MICHAEL C BAKER
KEVIN S ALLRED               CHAD GOLDEW                                                                                       SARAH G BOYCE•
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GARTH T, VINCENT             JOHN M GILDERSLEEVE                       TELEPHONE    <4 I SJ   5 I 2·4000                       DANE P. SHIKMAN
TED DANE                     ADAM 8 WEISS                                                                                          LEXI PEACOCK
STUART f< SENATOR            GEORGE CLAYTON FATHERC.E, Ill              FACSIMILE l4 I 5l     5 I 2   407 7                   MAGGIE THOMPSON
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ROBERT L, DELL At~GELO       JEREMY A LAWRENCE
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                             LAURA K LIN
JONATHAN E ALTMAi'l                                                                                              G!OVANN! S SAARMAN GONZALEZ
                             ACHYVT J. PHAOKE                                                                                                            ROBERT K. JOHNSON
KELLY M KLAUS                ZACHARY M. BRIERS                                                                            JONATHAN S ME11ZER"        PATRICK .J, CAFFER1'( JR_
OAV!O B GOLDMAN              .JENN!FER M. BRODER                                                                              SAMUEL JOSE DfAZ                 PETER A, DETRE
DAVID H FRY                  KURLMLLA J OLASA                              1155     F STREET NW                              LAUREN M, HARDING              ALLISON B STEIN
USA J DEMSt<Y                                                                                                                                               BRAD SCHNEIDER
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MALCOLM A HE!N1CK£                                                                                                                                       PETER E GRATZ1NGER
                             ROSE LEDA EHLER                                  SEVENTH      FLOOR                          STE:PHAN!E G HERRERA
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JAMES C, RUTTEN              ERIC P TUTTLE                                                                                                                     KIMBERLY A CH!
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RICHARD ST JOHN              JOHN W BERRY                                                                                                                      DAVID S. HONG
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CAROLYN           LUEDTKE    JORDAN O SEGALL                           TELEPHONE 1202l        220· I I 00                           J. MAX ROSEN         MICHAEL E GREANEY
C DAVID                      WESLEY T L, BURRELL                                                                     RACHEL G. MILLER,ZIEGLER~
MARK H                       KAREN A LORANG                                                                        ALISON F KAROL $IGUR05SON
                                                                        FACSIMILE   {202)     220·2300                            ANNE K CONLEY                E LEROY TOLLES
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FRED A ROWLEY, JR            JOSHUA S MELTZER                                                                                    GRAHAM 6 COLE                   11 922•2008!
KATHERINE M FORSTER          ADAM P BARRY                                                                             l<ATHER!N E G lNCANTALUPO
BLANCA FROMM YOUNG
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                             ANDREW CATH RUBENSTEIN
                                                                             March 2, 2020                                    DAVID P THORESON
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              c/o Elizabeth D. Miller, Assistant County Counsel
              Office of the County Counsel
              County of Los Angeles
              Kenneth Hahn Hall of Administration
              500 West Temple Street #648
              Los Angeles, CA 90012
              emiller@counsel.lacounty.gov

                            Re:        Dissemination of Photos of January 26, 2020 Helicopter Crash Scene

              Dear Sheriff Villanueva:

                       We, along with Robb & Robb LLC, represent Vanessa Bryant in all of her legal claims
              arising out of the helicopter crash that killed her husband, Kobe, and her daughter, Gianna. We
              write in regards to disturbing and distressing reports that Los Angeles County sheriff deputies
              have shared graphic photos of the January 26, 2020 helicopter crash that killed nine victims,
              including Kobe and Gianna Bryant. These reports indicate that photos of the crash scene and the
              victims' remains have been shared by sheriff deputies in settings "that had nothing to do with the
              investigation of the crash," and that the sharing of these photos was "a topic of discussion"
              among first responders in the days following the crash. (See Alene Tchekmedyian & Paul
              Pringle, L.A. County deputies shared graphic photos of Kobe Bryant crash scene, sources say,
              L.A. Times (Feb. 28, 2020), available at https://www.latimes. com/califomia/story/2020-02-
              2 7/ko be-bryant-photos-lost-hills-sheriff-deputies.)
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     Los Angeles County Sheriffs Department
     March 2, 2020
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             Additional reporting has indicated that, upon becoming aware that unauthorized crash-
     scene photographs had been taken and shared for no official purpose, the Sheriffs Office offered
     informal immunity to the transgressors, potentially tainting a proper review of this matter. (See
     TMZ.com, Kobe Bryant Crash Site Pies; Sheriff's Dept. Attempted Cover-Up; Come Clean &
     You 're Safe (Feb. 29, 2020), available at https://www.tmz.com/2020/02/29/kobe-bryant-crash-
     pictures-remains-deputies-delete-cover-up-sheriffs-department/.)

            These reports are deeply distressing to Mrs. Bryant and her family, who have already
     endured the unimaginable loss of their loved ones. The public dissemination of photos of the
     victims' remains would only worsen the family's pain and suffering.

             We formally request that the Sheriffs Department take immediate action to secure all
     photos and videos of the January 26, 2020 crash scene in the Sheriffs Department's possession,
     whether taken in official capacity or not, including any photos or videos in the possession of or
     disseminated by Sheriffs Department personnel. We further request that the Sheriffs
     Department conduct an Internal Affairs investigation to determine the extent of the unauthorized
     taking and dissemination of photos and the identities of the deputies or other personnel involved.

             In addition, please promptly provide us a copy of any and all complaints received by your
     Office regarding the unauthorized taking or sharing of crash-scene photos 1 and provide answers
     in writing regarding (i) all steps the Sheriffs Department has taken to ensure all photos of the
     crash scene have been secured; (ii) whether the Department has initiated an investigation into
     this matter and when the investigation is expected to conclude; (iii) the names of all Sheriffs
     Department personnel who shared photos of the crash scene; and (iv) whether the Sheriffs
     Department has terminated, suspended, or otherwise disciplined said personnel for their actions.
     We expect that such egregious violations of policy and decency will result in the most severe
     discipline.

             The Sheriffs Department and its personnel owe a duty of care to victims' families to
     refrain from publicly disseminating photos of victims' remains, given the potential for
     exploitation, Internet sensationalism, and the foreseeable agony such dissemination would inflict.
     Catsouras v. Dept. of Cal. Highway Patrol, 181 Cal. App. 4th 856,886,888 (2010). The
     unauthorized dissemination of photos of victims' remains could give rise to liability for, among
     other things, invasion of privacy, negligence, negligent or intentional infliction of emotional
     distress, and negligent supervision or retention. We fully intend to hold the Sheriffs Department
     and its personnel accountable for any harm caused by the unauthorized taking or dissemination
     of photos.



     1
       See TMZ.com, Kobe Bryant Helicopter Crash; Irate Bartender Busts Sheriff's Deputies ... Who
     Shared Gruesome Crash Photos (Feb. 28, 2020), available at https://www.tmz.com/2020/02/28/
     1a-co unty-sheriff-ko be-bryant-crash-site-photos/.
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     March 2, 2020
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            Our client and we are presently evaluating all of her legal options relative to this matter.
     She reserves all rights.




     cc:    Brad D. Brian
            Gary Robb
            Anita Robb
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                          Exhibit 5
           Case 2:20-cv-09582-JFW-E Document 49-3 Filed 02/24/21 Page 58 of 80 Page ID #:773
                                                            MUNGER, TOLLES & OLSON LLP
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ROBERT E DENHAM
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                            GRANT A OAVt!;,,"DtNNY                                                                                     JOHN L SCHWAS                        ROWLEY J, RICE
JEFFREY ! WEINBERGER        .JONATHAN H BLAYIN                                                                                        ASHLEY D, KAPLAN          JEREMY 5 l<..RE!5BER0~
CARY B LERMAN               DANIEL B LEVIN                                  Fl FTI ETH    FLOOR                                                                        JOHN O MAHER
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GREGORY P STONE             MIRIAM KIM
8RAD D BRIAN                                                                                                                             JULIANA M YEE          BRANDON R, TEACHOUT
                            N!STY M SA!~FORD                 LOS    ANGELES,    CALIFORNIA 90071-3426                                                            SEGUN ! . 8A8ATUNDE II
BRADLEY S PHILLIPS                                                                                                                   JEREMY K BEECHER
                            HMLYN J, CHEN                                                                                                                            CARSON C, ZHENG
GEORGE M GARVEY                                                                                                                    MATTHEW K    DONOHUE               LUCAS J ARTAIZ
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WILLIAM O TE.MKO                                                                                                                  ENILY CURRAN·HUBERTY          USHA CHILUKURI VNJCE
                            JACOB S J<;AE!LKAMP
JOHN W SPIEGEL                                                                                                                     JORDAN X NAVARETTI.:             BRIAN J SPRINGER
                            ,JEFFREY Y. V.-U
DONALD B VERRILLI, JR •
                            LAURA D 5MOLOWE
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JO$£PH D LEE                                                                                                                       TREVOR N. TEMPLETON                     MARI T SAIGAL
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MlCHAEL R    DOYEN                                                                                                                    SKYLAR D BROOKS                    LAUREN T ROSS•
                            BEN.JAMIN .J HOR'N!CH
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GREGORY D PHlLUPS           E MARTIN ESTRADA
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                            MAT1liEW A, MACDONALD                                                                                           SARAH S LEE
KATHLEEN M M'OOWCLL                                                       560    MISSION      STREET
GLENN D POMERANTZ           BRYAN H HECKENLIVELY                                                                                        ELIZABETH A, K!M
rnoMAS B WALPER             ELAINE J, GOLDENBERG•                                                                                          L'\URA M LOPEZ
                                                                        TWENTY-SEVENTH          FLOOR                                                               OM
HENRY WEISSMANN             MARK R YOHALEM                                                                                              MICHAEL C BAKER
KEVIN S ALLRED              CHAD GOLDER*                                                                                                 SARAH G BOYCE•
JEFFREY A HEINTZ            GINGER D ANDERS'                  SAN   FRANCISCO,     CALIFORN!A         94 I 05    3089                 ADELE M EL·KHOUR!•
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JUDfTH T. KffANO            MARGARET G MARASCHINO
JEROME C ROTH                                                                                                                              COLIN A DEVINE
GARTH T, V!~lCENT           JOHN M GILDER.SLEEVE                      TELEPHONE     (4 I 5l   5 I 2   4000                                DANE P: SH!KMAN
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MARTIN D BERN               f\ElLY LC. KRIEBS                                                                                            SAMUEL H. ALLEN
ROBERT L DELL ANGELO        .JEREMY A LAWRENCE
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                                                                                                                                           ALLISON M DAY                           or COUNSEL
JONATHAN E ALTMAN                                                                                                       GlOVANN! S SAARMAN GONZALEZ
                            ACHYUT J. PHAOKE                                                                                                                       ROBERT K. .JOHNSON
KELLY M KLAUS               ZACHARY M. BRIERS                                                                                       JONATHAN $ ME.LTZE.R#     PATRICK J, CAFFERTY. JR
DAVID 8 GOLDMAN             JENt4tFER M. BRODER                                                                                         SAMUEL JOSE OiAZ                    PETER A. DETRE
DAVID H FRY                 KURUVILLA J OLASA                             I I 55   F STREET N.W                                        LAUREN M, HARDING             ALLISON B. STEIN
LISA J DEMSKY               JUSTIN P RAPHACL                                                                                                                         BRAD SCHNEIDER
MALCOLM A HEINICKE                                                                                                                          NEFl D ACOSTA        PETER E GRATZINGER
                            ROSE LEDA EHLER                                  SEVENTH      FLOOR                                     STEPHANIE G HERRERA
TAMERLIN J GODLEY                                                                                                                                                      .JENNY H HONG
JAMES C. RUTTEN             ERIC P 1UTTLE                                                                                                                             KtMBERLY A CHI
                            JOHN W, BERRY                                                                                              TERESA REED DIPPO
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CAROLYM HOECKER LUEDTKE     JORDAN D SEGALL                           TELEPt10Nt {2021        220· I I 00                                     J MAX ROSEN         MICHAEL E GREANEY
C DAVID LEE                 WESLEY T L BURRELL                                                                               RACHEL G MILLER-ZIEGLER~
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                            ANDREW CATH RUBENSTEIN
                                                                            March 2, 2020                                               OAVtD P THORESON
                                                                                                                                   DAVID W MORESHEAD
                                                                                                                                                                               •A.l)MlliLiJ IN \..X.:
MELINDA EADE~ LE.J-IOINE    HANtlAH L, DUBINA                                                                                     ANDREW BREWSTER !II
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                 Via FedEx and Electronic Mail

                 Daryl L. Osby, Fire Chief
                 Los Angeles County Fire Department
                 c/o Mary Wickham, Los Angeles County Counsel
                 Office of the County Counsel
                 County of Los Angeles
                 Kenneth Hahn Hall of Administration
                 500 West Temple Street #648
                 Los Angeles, CA 90012
                 mwickham@counsel.lacounty.gov

                           Re:        Dissemination of Photos of January 26, 2020 Helicopter Crash Scene

                 Dear Chief Osby:

                         We, along with Robb & Robb LLC, represent Vanessa Bryant in all of her legal claims
                 arising out of the helicopter crash that killed her husband, Kobe, and her daughter, Gianna. We
                 write in regards to disturbing and distressing reports that Los Angeles County firefighters have
                 shared graphic photos of the January 26, 2020 helicopter crash that killed nine victims, including
                 Kobe and Gianna Bryant. These reports indicate that photos of the crash scene have been
                 "passed around" by firefighters for no official purpose. (See CBS Los Angeles, Report:
                 Firefighters Also Shared Graphic Images From Scene of Helicopter Crash That Killed Kobe
                 Bryant (Feb. 28, 2020), available at https://losangeles.cbslocal.com/video/4467516-report-
                 firefighters-also-shared-graphic-images-from-scene-of-helicopter-crash-that-killed-kobe-bryant/;
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     Los Angeles County Fire Department
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     TMZ.com, Kobe Bryant Helicopter Crash; Irate Bartender Busts Sherif.f's Deputies ... Who
     Shared Gruesome Crash Photos (Feb. 28, 2020), available at https://www.tmz.com/2020/02/28/
     la-county-sheriff-ko be-bryant-crash-si te-photos/.)

            These reports are deeply distressing to Mrs. Bryant and her family, who have already
     endured the unimaginable loss of their loved ones. The public dissemination of photos of the
     victims' remains would only worsen the family's pain and suffering.

             We formally request that the Fire Department take immediate action to secure all photos
     and videos of the January 26, 2020 crash scene in the Fire Department's possession, whether
     taken in official capacity or not, including any photos or videos in the possession of or
     disseminated by Fire Department personnel. We further request that the Fire Department
     conduct an investigation to determine the extent of the unauthorized taking and dissemination of
     photos and the identities of the firefighters or other personnel involved.

             In addition, please promptly provide us a copy of any and all complaints received by your
     Office regarding the unauthorized taking or sharing of crash-scene photos and provide answers
     in writing regarding (i) all steps the Fire Department has taken to ensure all photos of the crash
     scene have been secured; (ii) whether the Department has initiated an investigation into this
     matter and when the investigation is expected to conclude; (iii) the names of all Fire Department
     personnel who shared photos of the crash scene; and (iv) whether the Fire Department has
     terminated, suspended, or otherwise disciplined said personnel for their actions. We expect that
     such egregious violations of policy and decency will result in the most severe discipline.

             The Fire Department and its personnel owe a duty of care to victims' families to refrain
     from publicly disseminating photos of victims' remains, given the potential for exploitation,
     Internet sensationalism, and the foreseeable agony such dissemination would inflict. Catsouras
     v. Dept. of Cal. Highway Patrol, 181 Cal. App. 4th 856, 886, 888 (2010). The unauthorized
     dissemination of photos of victims' remains could give rise to liability for, among other things,
     invasion of privacy, negligence, negligent or intentional infliction of emotional distress, and
     negligent supervision or retention. We fully intend to hold the Fire Department and its personnel
     accountable for any harm caused by the unauthorized taking or dissemination of photos.
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MUNGER, TOLLES & OLSON LLP


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            Our client and we are presently evaluating all of her legal options relative to this matter.
     She reserves all rights.




     CC:    Brad D. Brian
            Gary Robb
            Anita Robb
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                          Exhibit 6
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                                             March 8, 2020

                                                                                       Writer’s Direct Contact
                                                                                          (213) 683-9205
                                                                                       (213) 683-4005 FAX
                                                                                         luis.li@mto.com


  Via FedEx and Electronic Mail

  Sheriff Alex Villanueva
  c/o Elizabeth D. Miller, Assistant County Counsel
  Office of the County Counsel
  County of Los Angeles
  Kenneth Hahn Hall of Administration
  500 West Temple Street #648
  Los Angeles, CA 90012
  emiller@counsel.lacounty.gov

         Re:     Dissemination of Photos of January 26, 2020 Helicopter Crash Scene

  Dear Sheriff Villanueva:

         We write to follow up on our March 2 letter, to which we have not yet received a
  response.

          Since we last wrote, additional disturbing reports have emerged regarding sheriff’s
  deputies sharing unauthorized photographs of the crash scene and the victims’ remains. You
  have publicly stated that at least eight deputies took illicit photos, and news outlets have reported
  that the photos have been sent to people outside the Sheriff’s Department. Reports also indicate
  that the Department knew of its deputies’ misconduct as early as January 29, when a citizen filed
  a complaint notifying the Department. Yet the Department did not inform the victims’ families
  until the L.A. Times was poised to report on the misconduct nearly five weeks later.
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          The Department’s response to the misconduct also has been deeply troubling. According
  to reports by the L.A. Times, Department leadership “tried to keep a lid” on the potential scandal
  by deviating from “normal investigative protocols.” 1 Reports further indicate that, rather than
  formally investigate, Department leadership told the deputies that if they “came clean and
  deleted the photos, they would not face any discipline.” 2 Indeed, the Department appears to have
  initiated a formal investigation only after news of the deputies’ misconduct became public.
  Once news of the misconduct broke, you told news outlets that the Department does not have a
  policy addressing deputies using their personal cellphones to take photos of accident scenes,
  even though the Department’s policy on use of communication devices prohibits precisely that.
  (Policy 3-01/100.46, Los Angeles County Sheriff’s Department Manual of Policy and
  Procedures, available at http://pars.lasd.org/Viewer/Manuals/10008/Content/10426 (“Members
  shall not use a personal cellular telephone . . . to record, store, document, catalog, transmit,
  and/or forward any image . . . captured as a result of their employment and/or while performing
  official Department business that is not available or accessible to the general public.”).)

          All of this leaves Mrs. Bryant with substantial uncertainty as to whether the misconduct
  was truly limited to eight deputies and whether the photographs of her husband’s and daughter’s
  remains (or copies of them that may have been shared with others or stored online) will become
  public. Mrs. Bryant deserves to know whatever the Department knows regarding these
  questions. To that end, we ask on Mrs. Bryant’s behalf that you respond to the below requests
  no later than close of business on Tuesday, March 10.

  •         Describe what steps, if any, the Sheriff’s Department has taken to identify all personnel
            who had or have photographs or recordings of the crash scene or victims’ remains on
            their electronic devices (including cellphones) or cloud accounts.

  •         Describe what steps, if any, the Sheriff’s Department has taken to determine whether and
            to what extent personnel who had such photographs or recordings shared them with other
            members of the Department or third parties.

  •         Describe what steps, if any, the Sheriff’s Department has taken to secure all unauthorized
            photographs or recordings in the possession of its personnel such that they are not subject
            to further sharing.




  1
   Alene Tchekmedyian & Paul Pringle, A deputy allegedly showed off gruesome Kobe Bryant
  crash photos at bar. A cover-up scandal ensued, L.A. Times (Mar. 3, 2020), available at
  https://www.latimes.com/california/story/2020-03-03/kobe-bryant-crash-photos-sheriffs-
  department-tried-to-keep-quiet.
  2
      Id.
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  •      Identify by name all personnel who had or have photographs or recordings of the crash
         scene or victims’ remains on their electronic devices.

  •      State whether the Sheriff’s Department confiscated and/or inspected the electronic
         devices of the personnel who had or have photographs or recordings of the crash scene or
         victims’ remains.

  •      Describe what steps, if any, the Sheriff’s Department has taken to secure all photographs
         of the crash scene or victims’ remains that its personnel sent to people outside of the
         crash investigation.

  •      Describe what steps, if any, the Sheriff’s Department has taken to review photographs of
         the crash scene or victims’ remains on its personnel’s electronic devices to determine
         their investigative value, and whether the Sheriff’s Department has turned images with
         investigative value over to the National Transportation Safety Board.

         As we noted in our March 2 letter, our client is evaluating all of her legal options and
  reserves all rights.

                                                     Sincerely,

                                                     /s/ Luis Li

                                                     Luis Li

  CC:    Brad D. Brian
         Gary Robb
         Anita Robb
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                          Exhibit 7
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                          Exhibit 8
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                          Exhibit 9
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                        Exhibit 10
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